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                 EXHIBIT B-132
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                 IN THE SUPERIOR COURT OF FULTON COUNT

In RE: May 22 Special Purpose
Grand Jury
                             STATE OF GEORGIA
                                                                         FILED IN OFFICE


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                                                                                JA~013
                                                                        DEPUTY CLCRK SUPERIOR COURT
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                                                                                                           _ __.,


                                                   CASE NO. 2022-EX-000024




   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests     permission   to use a recording device in
Courtroom of Judge McBurney in order to rzlrecord images and/ or rzlsound
during all or portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): rzlcomputer of any size, including a
tablet, a notebook, and a laptop; rxlsmart phone, a cell phone or other wireless
phone; [8] camera and other audio or video recording devices D any similar
devices __

The proceedings that the undersigned desires to record commence on (date and
timeJl/24/2023,     8:30 a.m. Subject to direction from the court regarding
possible pooled coverage, the undersigned wishes to use this device in the
courtroom   on (date and timeJl/24/2023, 8:30 a.m.

The personnel      who will be responsible for the use of this recording device are:
(identify appropriate personnel or individual) Veronica Waters.


The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.


For questions or concerns email pio@fultoncountyqa.gov                                        1
Rule 22 (Rev. 04/01/ 18)
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*Notice to Requesting Agency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

WSB Radio, Veronica Waters
(News Agency/Media Outlet/Law Firm/Individual               Representative)

Veronica.waters@cmg.com
(Email Address)

404.234.5498
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               0Approved


              The requesting agency:
                            be pool for its media
                      0Shall    not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 19 th day of January           2023.



  Or<1_____::;_u......:........./1.
               (.....::::...rf/11--+--~----
                     Judge of Super'or Court of Fulton County
                              Atlanta Judicial Circuit


For questions or concerns email pio@fultoncountyqa.gov                         2
Rule 22 (Rev. 04/01/ 18)
